                  Case 2:20-cv-00421-RSM Document 69 Filed 10/01/21 Page 1 of 5




 1                                                              THE HONORABLE RICARDO S. MARTINEZ

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 7                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF WASHINGTON
 8                                        AT SEATTLE

 9   STEVEN BENANAV, BRYAN GAGE,                         Civil Action No. 2:20-cv-00421-RSM
     MONICA KOWALSKI, LINDSAY
10   PURVEY, STEPHANIE CAUGHLIN, and                     STIPULATED MOTION TO MODIFY
     KATHERINE THOMAS, on behalf of                      SCHEDULING ORDER
11   themselves and all others similarly situated,
                                                         NOTING DATE: September 30, 2021
12             Plaintiffs,

13   vs.

14   HEALTHY PAWS PET INSURANCE LLC,

15             Defendant.

16
               Plaintiffs Steven Benanav, Bryan Gage, Monica Kowalski, Lindsay Purvey, Stephanie
17
     Caughlin, and Katherine Thomas (“Plaintiffs”) and Defendant Healthy Paws Pet Insurance LLC
18
     (“Healthy Paws”) (collectively, the “Parties”) hereby jointly move the Court for an order
19
     modifying the Court’s Scheduling Order.
20
                                        BACKGROUND FOR THE MOTION
21
               On July 23, 2020, the Parties filed a Joint Status Report and Discovery Plan, in which they
22
     proposed an agreed-upon case schedule [Doc. No. 33], and on July 27, 2020, this Court entered an
23
     order setting that schedule [Doc. No. 34]. On April 20, 2021, the Parties filed a Stipulated Motion
24
     and [Proposed] Order to Stay the Scheduling Order, pending the ruling on Defendant’s Motion to
25
     Dismiss Plaintiffs’ Second Amended Complaint and Defendant’s Motion to Strike Plaintiff’s
26
     Nationwide Class Allegations, and agreeing to submit a proposed order modifying the case
27
     schedule within seven days of the Court’s ruling on Defendant’s Motions. Doc. No. 61. The Court
       STIPULATED MOTION TO MODIFY SCHEDULING ORDER                     TURKE & STRAUSS, LLP
       (2:20-CV-00421-RSM) - 1                                          613 Williamson Street #201
                                                                           Madison, WI 53703
                                                                              608.237.1775
     03597-00005/12980350.1
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 1   entered the Parties’ Proposed Order that same day. Doc. No. 62. On September 23, 2021, the Court

 2   entered an Order Granting in Part and Denying in Part Defendant’s Motions. Doc No. 63.

 3             The Parties have met and conferred regarding a modification of the Court’s Scheduling

 4   Order and have agreed on the following modified schedule:

 5                    Last day by which to add any necessary       30 days after Defendant files Answer
                      parties
 6

 7                    Close of Fact Discovery                      June 30, 2022
 8
                      Deadline for Plaintiffs to file Motion for   July 22, 2022
 9                    Class Certification and Class
                      Certification Expert Reports
10

11                    Deadline for Defendant to file               September 23, 2022
                      Opposition to Motion for Class
12
                      Certification and Class Certification
13                    Expert Reports; Deadline for Defendant
                      to Complete Deposition of Plaintiffs’
14
                      Class Certification Experts
15
                      Deadline for Plaintiffs to file Reply in     October 21, 2022
16
                      Support of Motion for Class
17                    Certification; Deadline for Plaintiffs to
                      Complete Deposition of Defendant’s
18
                      Class Certification Experts
19
                      All Parties’ Daubert Motions as to Class     November 15, 2022
20
                      Certification Experts
21                    All Parties’ Oppositions to Daubert          December 6, 2022
                      Motions as to Class Certification
22
                      Experts
23                    All Parties’ Replies to Daubert Motions      December 22, 2022
                      as to Class Certification Experts
24
                      Hearing on Motion for Class                  To be set by the Court
25                    Certification
26
               WHEREFORE, the Parties respectfully request an Order modifying the current case
27

       STIPULATED MOTION TO MODIFY SCHEDULING ORDER                        TURKE & STRAUSS, LLP
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 1   deadlines as described herein.

 2

 3             DATED September 30, 2021

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 5
     /s/ Samuel J. Strauss                            /s/ Alicia Cobb
 6   Samuel J. Strauss, WSBA #46971                   Alicia Cobb, WSBA #48685
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23                                                    Attorneys for Defendant Healthy Paws Pet
                                                      Insurance LLC
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27

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                  Case 2:20-cv-00421-RSM Document 69 Filed 10/01/21 Page 4 of 5




 1
               IT IS SO ORDERED.
 2
               DATED this 1st day of October, 2021.
 3

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 6
                                                      A
                                                      RICARDO S. MARTINEZ
 7                                                    CHIEF UNITED STATES DISTRICT JUDGE

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       STIPULATED MOTION TO MODIFY SCHEDULING ORDER                TURKE & STRAUSS, LLP
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                                                                         608.237.1775
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                  Case 2:20-cv-00421-RSM Document 69 Filed 10/01/21 Page 5 of 5




 1                                      CERTIFICATE OF SERVICE

 2             I hereby certify that on September 30, 2021, I caused a true and correct copy of the

 3   foregoing to be filed in this Court’s CM/ECF system, which sent notification of such filing to

 4   counsel of record.

 5             DATED this 30th day of September 2021.

 6
                                                          /s/ Samuel J. Strauss
 7
                                                         Samuel J. Strauss, WSBA #46971
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       STIPULATED MOTION TO MODIFY SCHEDULING ORDER                     TURKE & STRAUSS, LLP
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